                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
In re:
Charleston, Daniel M.                                     Case No. 17-57711-MBM
Charleston, Tyiesha I.                                    Chapter 7
                                                          Hon. Marci B. McIvor
     Debtors.
________________________________/

            TRUSTEE’S MOTION FOR CONTINUED RULE 2004
                  EXAMINATION OF THE DEBTORS

      NOW COMES Chapter 7 Trustee, Wendy Turner Lewis, by and through her

undersigned attorneys, DAKMAK PEURACH, P.C., and states as follows:

      1. This case was commenced on December 29, 2017 pursuant to the filing of a

         voluntary petition under Chapter 7 of the United States Bankruptcy Code.

      2. Wendy Turner Lewis is the duly appointed and acting Chapter 7 Trustee in

         this bankruptcy case.

      3. Based upon the information provided to the Trustee in connection with this

         case, the Trustee has determined that additional information is required

         from the Debtors in order to properly administer this bankruptcy estate.

      4. Pursuant to Bankruptcy Rule 2004, the Court may order the examination of

         any entity or person on motion filed by any party in interest. The

         examination may relate to the acts, conduct, or property, or to the liabilities

         and financial condition of the Debtor, or to any matter which may affect the

         administration of the Debtor’s estate.


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   5. In this instance, the Trustee is seeking to examine the Debtors in order to

      accurately determine the status of the Debtors’ financial affairs, including

      two potentially valuable assets: (1) pending litigation against the

      pharmaceutical manufacturer Bayer; and (2) an existing claim against

      Debtor Tyiesha Charleston’s former employer for sexual harassment and

      wrongful termination.

   6. The Trustee is seeking to review all documents pertaining to Debtor

      Tyiesha Charleston's scheduled claims against her former employer

      including, but not limited to, the following:

      A. Copy of all retainer agreements;
      B. Copy of all complaints;
      C. Copy of all correspondence;
      D. Copy of her personnel file;
      E. Copy of any disciplinary actions taken against her;
      F. Copy of her EEOC charge of discrimination;
      G. Copy of any EEOC notice of right to sue that may have been issued;
      H. Copy of any EEOC determinations and/or probable or reasonable cause
         findings;
      I. Copy of any EEOC conciliation/settlement proposals;
      J. Copy of any witness statements;
      K. Copy of all related text messages;
      L. Copy of all related e-mails;
      M. Copy of any collective bargaining agreement/employee handbooks, and;
      N. Copy of any audio or visual recordings.


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      7. The Trustee is also seeking Debtor Tyiesha Charleston's cooperation to

         complete the “Plaintiff Fact Sheet” regarding her scheduled claims in the

         pending litigation against the pharmaceutical manufacturer Bayer.

      8. Pursuant to Bankruptcy Rule 2004, the attendance of a person or entity for

         examination and for the production of documents may be compelled as

         provided in Rule 9016 for the attendance of a witness at a hearing or trial.

      9. As the Trustee of this bankruptcy estate, Wendy Turner Lewis is a party in

         interest within the meaning of Bankruptcy Rule 2004.

      10. The undersigned certifies that on May 18, 2018 and May 31, 2018 the

         Trustee sought concurrence to the relief requested herein; however, the

         requested concurrence was not granted.

      WHEREFORE, Chapter 7 Trustee, Wendy Turner Lewis, respectfully

requests that this Honorable Court grant this motion and that it enter the proposed

Order attached hereto as Exhibit 1.

                                         Respectfully submitted,

                                         DAKMAK PEURACH, P.C.

                                         /s/ James J. Tocco
                                   By:
                                         James J. Tocco (P68351)
                                         Attorney for the Trustee
                                         41740 Six Mile Road, Suite 101
                                         Northville, MI 48168
                                         (248) 349-0500 / 349-0600 (fax)
Date: June 1, 2018                       jtocco@gdakmak.com


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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
In re:
Charleston, Daniel M.                                    Case No. 17-57711-MBM
Charleston, Tyiesha I.                                   Chapter 7
                                                         Hon. Marci B. McIvor
     Debtors.
________________________________/

ORDER FOR CONTINUED RULE 2004 EXAMINATION OF THE DEBTORS

            THIS MATTER having come before the Court pursuant to the

Trustee’s Motion for Continued Rule 2004 Examination of the Debtors, notice

thereof being served upon the Debtors and Debtors’ attorneys, no objection or request

for hearing having been made or filed in response thereto, and the Court being

otherwise fully advised in the premises:

            IT IS HEREBY ORDERED that the Debtors shall appear on June 22,

2018 at 1:00 P.M. for a Bankruptcy Rule 2004 examination to be conducted by the

Trustee’s attorneys, Dakmak Peurach, P.C., and Joey Niskar at the Niskar Law Firm,

P.L.L.C., 30445 Northwestern Hwy., Ste. 250, Farmington Hills, MI 48334. The

Debtors shall produce, at the examination, copies of the following documents:

      A. All documents pertaining to Debtor Tyiesha Charleston's scheduled claims

         against her former employer including, but not limited to, the following:

                                      Exhibit 1




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      1. Copy of all retainer agreements;
      2. Copy of all complaints;
      3. Copy of all correspondence;
      4. Copy of her personnel file;
      5. Copy of any disciplinary actions taken against her;
      6. Copy of her EEOC charge of discrimination;
      7. Copy of any EEOC notice of right to sue that may have been issued;
      8. Copy of any EEOC determinations and/or probable or reasonable cause
         findings;
      9. Copy of any EEOC conciliation/settlement proposals;
      10. Copy of any witness statements;
      11. Copy of all related text messages;
      12. Copy of all related e-mails;
      13. Copy of any collective bargaining agreement/employee handbooks, and;
      14. Copy of any audio or visual recordings.


   B. All information regarding the pending litigation against the pharmaceutical

      manufacturer Bayer that is necessary to complete the Plaintiff Fact Sheet,

      including the name of the surgical provider who completed the Debtor’s

      Essure® removal surgery, the name of the facility where the procedure was

      completed, and the date of said procedure.




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                          Official Form 420A (Notice of Motion or Objection) (12/16)

                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHERN DIVISION
In re:
Charleston, Daniel M.                                                                         Case No. 17-57711-MBM
Charleston, Tyiesha I.                                                                        Chapter 7
                                                                                              Hon. Marci B. McIvor
     Debtors.
________________________________/

Daniel M. Charleston
Tyiesha I. Charleston
25167 Leach St.
Roseville, MI 48066

SSN / ITIN: xxx-xx-4424
SSN / ITIN: xxx-xx-4918

                       NOTICE OF MOTION AND OPPORTUNITY TO OBJECT

      James J. Tocco, Esq., attorney for the Trustee, has filed papers with the Court
to conduct the continued Rule 2004 Examination of the Debtors.

      Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.)

     If you do not want the court to grant the relief sought in the Application, or if
you want the court to consider your views, within 14 days, you or your attorney must:

1. File with the court a written response or an answer, explaining your position at:1
                                                               United States Bankruptcy Court
                                                               211 W. Fort Street, Suite 1700
                                                                  Detroit, Michigan 48226

                                                                          Exhibit 2
                                                            
1
    Response or answer must comply with F.R.Civ.P. 8(b), (c) and (e).


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      If you mail your response to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above. All attorneys are
required to file pleadings electronically. You must also mail a copy to:

                                     James J. Tocco
                              41740 Six Mile Road, Suite 101
                                  Northville, MI 48168

2.     If a response or answer is timely filed and served, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time and
location of the hearing. If you or your attorney do not take these steps, the court may
decide that you do not oppose the relief sought in the motion and may enter an order
granting the relief.

Date: June 1, 2018                       Signature: /s/ James J. Tocco
                                         Name: James J. Tocco (P68351)
                                                  41740 Six Mile Road, Suite 101
                                                  Northville, MI 48168
                                                  (248) 349-0500/349-0600
                                                  jtocco@gdakmak.com




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                                                          Hon. Marci B. McIvor
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________________________________/

                               PROOF OF SERVICE

I, Theresa A. Speir, declare as follows:

       1.   I am employed in Northville, Michigan; I am over the age of 18 years;
and I am not a party to this action. My business address is 41740 Six Mile Road,
Suite 101, Northville, MI 48168.

      2.     On June 1, 2018, I served the following: Trustee’s Motion for Continued
Rule 2004 Examination of the Debtors (proposed Order), Notice for Response and
Proof of Service in this action by ECF filing upon the Debtors' counsel of record.

      I declare under the penalty of perjury that the foregoing is true and correct.
Proof of Service executed on June 1, 2018 in Northville, Michigan.

                                              /s/ Theresa A. Speir
                                              ___________________________
                                              Theresa A. Speir
                                              41740 Six Mile Road, Suite 101
                                              Northville, MI 48168




                                       Exhibit 4


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